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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )       No. 3:12-00078
                                               )       Judge Sharp
LAZOURUS GRISSOM                               )

                            MOTION FOR LEAVE TO LATE-FILE
                             MOTION TO CONTINUE TRIAL

         Lazourus Grissom, by and through undersigned counsel, hereby requests leave of court to file

his first motion to continue the trial two days after the deadline established in the Court’s Order

setting this matter for trial. (Docket Entry 31). In support of this motion, undersigned counsel would

show the Court the following:

         1. Undersigned counsel and AUSA Phil Wehby discussed the need for a continuance of the

trial on or about August 13, 2012.

         2. On August 17, 2012, undersigned counsel met with the defendant, and Mr. Grissom

signed a Speedy Trial Waiver. Counsel has drafted a motion to continue which is prepared for filing

on August 23, 2012.

         3. The deadline for filing a motion to continue the trial was August 21, 2012, one week

before the trial date of August 28, 2012. Due to unexpected events which required defense counsel’s

immediate and focused attention in two other pending federal criminal matters, undersigned counsel

overlooked the deadline established by this Court’s Order.

         4. Neither the defendant nor the government will be prejudiced by the granting of this

motion.




      Case 3:12-cr-00078      Document 33          Filed 08/23/12    Page 1 of 1 PageID #: 51
